Case 6:20-cv-00581-RRS-CBW Document 94-10 Filed 09/07/21 Page 1 of 21 PageID #:
                                  1972
                                         EXHIBIT "J"

       1                       UNITED STATES DISTRICT COURT
       2                       WESTERN DISTRICT OF LOUISIANA

       3                            LAFAYETTE DIVISION

       4
       5

       6
             ROMAC ENVIRONMENTAL          NO.: 6:20-cv-00581-RRS-CBW (LEAD)
       7     SERVICES, LLC                CONSOLIDATED WITH
                                          NO.: 6:20-cv-01672 (MEMBER)
       8                                  NO.: 6:20-cv-00588 (MEMBER)
             VERSUS
       9                                  JUDGE ROBERT R. SUMMERHAYS
             WILDCAT FLUIDS,
      10     LLC,                         MAGISTRATE JUDGE CAROL B.
                                          WHITEHURST
      11
             * * * * * * * * * * * * * * * * * * * * * * * * * * * * *
      12

      13
      14                    The deposition of Keith Wingate taken in

      15           the above-entitled cause, before Connie S. Ezell,

      16           Certified Court Reporter, at the office of Jones

      17           Walker LLP, 600 Jefferson Street, Suite 1600,

      18           Lafayette, Louisiana, on August 5, 2021, commencing

      19           at 9:01 a.m.

      20

      21
      22

      23
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                                    Connie S. Ezell, CSR
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                                  1973


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      24     ALSO PRESENT:     MR. ALAN BROWN
      25


                                                                            2

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                                  1975


       1                           S T I P U L A T I O N
       2

       3                     It is stipulated and agreed by and between

       4           counsel for the parties hereto that the deposition

       5           of the aforementioned witness is hereby being taken

       6           for all purposes allowed under Federal Rules of

       7           Civil Procedure, in accordance with law, pursuant to

       8           notice;

       9                     That the formalities of reading and signing

      10           are specifically waived;

      11                     That the formalities of filing, sealing and

      12           certification are specifically waived;

      13                     That all objections, save those as to the

      14           form of the question and the responsiveness of the

      15           answer, are hereby reserved until such time as this

      16           deposition, or any part thereof, may be used or

      17           sought to be used in evidence.

      18                                     * * *
      19

      20

      21
      22                     CONNIE S. EZELL, Certified Shorthand

      23           Reporter in and for the State of Louisiana,

      24           officiated in administering the oath to the witness.

      25


                                                                            4

                                    Connie S. Ezell, CSR
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                                  1976


       1                            answer --
       2                                        THE WITNESS:    Okay.

       3                                        MR. NEUNER:    -- or Connie has

       4                            a mean right hook.     She's gonna --
       5                                        THE WITNESS:    No, I know her.

       6                            She's not --
       7                                        MR. NEUNER:    Just slow down

       8                            and --
       9                                        THE WITNESS:    Okay.

      10                                        MR. NEUNER:    Going fast won't

      11                            make it go faster.
      12                                        THE WITNESS:    Okay.

      13                                        MR. NEUNER:    Okay.
      14     BY MR. JOSEPH:

      15     Q.    What business did Romac do with DEL before Wildcat

      16           came into the picture?
      17     A.    We started doing with DEL probably about a year

      18           before.    We went to DEL to go ahead and manufacture
      19           two pieces of equipment for us.       One was called the

      20           Kodiak and one was called the Beast.        And basically

      21           what it was for was cleaning drill waste.           The Kodiak
      22           was to go ahead and reclaim drill mud to give back to

      23           the rig and drive the solids to reduce their trucking

      24           cost, and the Beast was where we remediate everything
      25           on site.


                                                                             7

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                                  1977


       1     Q.    Okay.
       2     A.    That's how we got started.      Basically what we took is

       3           Bob's Total Clean system that he had been using for

       4           the dredging, the drying of spoils, and we took that
       5           and modified it for the oilfield is what we did.

       6     Q.    Okay.   And when you say we modified it, who modified
       7           it?   Who was involved in the modifications?

       8     A.    Well, it was predominantly us and DEL.        We had some
       9           ideas what we wanted, but Bob Kulbeth is the one who

      10           came up with the design of everything.        He took his

      11           basic premise of what he had, and he took that -- and
      12           what we said, we -- we need to have this done and this

      13           done.   This is the end results we need to have.         And
      14           so Bob took it upon himself to do those -- make it

      15           work.

      16     Q.    Okay.   If you could, tell me what those two thises
      17           were.

      18     A.    Excuse me.    Say that again.
      19     Q.    Sure.   If you could, tell me -- you said we need to

      20           have this done and this done.       What were these two --

      21     A.    Well, like on the Beast, I had to have certain
      22           retention time for the chemical to work, okay, so as

      23           we receive the drill cuttings, the waste -- drill

      24           waste, as we received it, I'd have the retention time
      25           so the chemical I was using could break it all down,


                                                                            8

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                                  1978


       1     Q.    Yes, sir.
       2     A.    Okay.   No.

       3     Q.    Did it separate oil from the water and the sand?

       4     A.    Yes, it did.
       5     Q.    Okay.   So how did Wildcat and Romac and DEL become

       6           involved with what became the SandCat?
       7     A.    I went to Bob in October of 2017, I think it is -- I

       8           think it's 2017 -- September -- latter part of
       9           September/October time frame, and I said, Bob, I said,

      10           look, I said, I want to get into the -- the solids

      11           business on the flow back, picking up their solids
      12           with his trucking -- I'm sorry, drying their solids, I

      13           apologize, drying their solids.       And I said, couldn't
      14           we use the same premise that we have now in the Beast

      15           and the Kodiak to do that.      Well, at the same time

      16           Mike Kulbeth was on location with -- with Wildcat.
      17           Okay?   My understanding, it took some of Bob's shakers

      18           and a few other things tied to a open top tank.
      19           The -- they started processing through that to

      20           demonstrate how dry we could get the -- the solids on

      21           the back side of it to reduce their trucking cost.
      22           Okay?   So Bob told me about that.      Mike came back.        He

      23           says, you need to call this guy right here and see

      24           possibly what y'all can do to work together, and so I
      25           went ahead and called Jeff Weber.


                                                                            10

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                                  1979


       1     Q.    So Mike Kulbeth was on location --
       2     A.    Uh-huh.

       3     Q.    -- with --

       4                   Is that a yes?
       5     A.    Yes.

       6     Q.    -- was on location with Jeff Weber and Wildcat --
       7     A.    Correct.

       8     Q.    -- performing services with a device that ultimately
       9           became the SandCat?

      10     A.    I don't know if it ultimately became the SandCat,

      11           because that piece of equipment -- all it was was open
      12           top tank and two shakers and a gas buster on top of

      13           it.
      14     Q.    Okay.

      15     A.    The SandCat's totally different from that, I mean,

      16           so -- it's more intricate than that is.        Okay?
      17                                       MR. NEUNER:    It's more --

      18                            it's more what?
      19                                       MR. JOSEPH:    Intricate?

      20                                       THE WITNESS:    Yeah,

      21                            intricate -- yeah.
      22                                       MR. NEUNER:    Okay.

      23                                       THE WITNESS:    Thank you,

      24                            yeah.
      25     BY MR. JOSEPH:


                                                                             11

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                                  1980


       1     Q.    Well, how did Mike Kulbeth and Wildcat get together,
       2           if you know?

       3     A.    I have no idea.

       4     Q.    Okay.    How long had Mike Kulbeth and DEL been working
       5           with Wildcat before you said I need a device that --

       6     A.    I have -- I have no idea.      I don't -- I don't know.
       7           I'm sorry.

       8     Q.    I normally go through a bunch of housecleaning
       9           measures very -- at the very beginning.

      10     A.    Okay.

      11     Q.    Have you ever given a depo before?
      12     A.    No.

      13     Q.    Okay.    If we talk at the same time -- you can see our
      14           court reporter's writing everything down.

      15     A.    Right.

      16     Q.    If we talk at the same time --
      17     A.    I apologize.

      18     Q.    -- like that --
      19                                        MR. NEUNER:    See, you just

      20                            did it --

      21                                        THE WITNESS:    Yeah, I know.
      22     BY MR. JOSEPH:

      23     Q.    -- then it makes it hard, and uh-huhs and huh-uhs and

      24           um-hums don't come out too well either --
      25     A.    Okay.


                                                                            12

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                                   1981


        1     Q.   -- so you have to say yes or no.
        2     A.   All right.

        3     Q.   And I'm terrible about interrupting too, but I will

        4          try to let you finish your answer if you let me finish
        5          my question.     Okay?

        6     A.   Okay.
        7     Q.   All right.

        8                                      MR. NEUNER:    And I'll try and
        9                           be the referee.

       10                                      THE WITNESS:     Okay.

       11                                      MR. NEUNER:    Just take your
       12                           time.   We have all day.

       13     BY MR. JOSEPH:
       14     Q.   What -- if you know, what was DEL and Romac working

       15          on?

       16     A.   I don't understand the question.
       17     Q.   I'm sorry.    It was a bad question.      What was DEL and

       18          Wildcat working on that Mike Kulbeth was out there at
       19          the site?

       20     A.   I don't know.     I don't know.    All I know is is that

       21          when I went talk to Bob about it, he told me they were
       22          on the site with Jeff Weber -- he didn't even say --

       23          he didn't mention Jeff's name at the time, he just

       24          said with a -- with a customer, you know, running a
       25          test using his shakers to prove see -- to prove how


                                                                             13

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                                   1982


        1          dry we could get the cuttings --
        2     Q.   Okay --

        3     A.   -- the solids.

        4     Q.   -- but the device that was being tested also had a gas
        5          buster, right?

        6     A.   Yes.    I think it was -- I think the gas buster
        7          belonged to Jeff Weber.      It was his gas buster.

        8     Q.   And this is what -- is -- is this device that Mike was
        9          out watching operate what you went to Bob and said,

       10          hey, I need a device that does this or is it a

       11          different device?
       12     A.   Repeat your question one more time please.

       13     Q.   Sure.    You went to Bob Kulbeth and said I need
       14          something --

       15     A.   Uh-huh.

       16     Q.   -- that can do X, Y and Z?
       17     A.   Yes.

       18     Q.   Let's see if we can modify the Kodiak and the Beast to
       19          perform X, Y and Z.      Is that fair?

       20     A.   That's fair.

       21     Q.   Okay.    Was the device that Wildcat was operating and
       22          Mike Kulbeth was watching a device that performed the

       23          X, Y and Z that you wanted to have?

       24     A.   Yes and no.
       25     Q.   Okay.


                                                                             14

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                                   1983


        1     A.   Yes to the point where they got the cuttings dry.
        2          Okay?    No is where -- okay, there was no device on

        3          there how to skim the oil at the time for the

        4          application, and also too it had no really holding
        5          capacity in the tank they used.       It needed more

        6          holding capacity and process time, so that was part of
        7          the changes that had to be made going forward off

        8          that -- that test they did.
        9     Q.   Okay.    Do you know if that job that Mike Kulbeth was

       10          on was a job for Carrizo Oil & Gas?

       11     A.   I think so.    I'm not sure.     I think it was Carrizo Oil
       12          & Gas.    I'm not really sure.

       13     Q.   And did the device that Wildcat was operating out
       14          there separate water, solids, oil and gas?

       15     A.   I'm not sure.     All I know is that what I was aware of

       16          was is the solids side of it.       My main concern was to
       17          reduce trucking cost, what we did with the Kodiak and

       18          the Beast.    That was my main concern, because trucking
       19          cost was a huge cost for operators out there with

       20          limited amount of trucks available to them, so that

       21          was my main -- main focus.
       22     Q.   Okay.    So you weren't really interested that much in

       23          fracking water, correct?

       24     A.   No.
       25     Q.   Okay.    At some point, you -- when I say you, I'm


                                                                             15

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                                   1984


        1     Q.   Okay.   Did you make any technical contributions to
        2          what became the SandCat?

        3     A.   No.

        4     Q.   Did Alan Brown make any technical contributions to
        5          what became the SandCat?

        6     A.   I have no idea.
        7     Q.   How about -- did Jeff Weber make any technical

        8          contributions to what became the SandCat?
        9     A.   I assume so.

       10     Q.   Okay.   Are you on any patents with DEL?

       11     A.   No.
       12     Q.   Going -- okay.     Do you have any patents?

       13     A.   No.
       14     Q.   Does Romac have any patents?

       15     A.   Not that I'm aware of.

       16     Q.   If you could, explain to me what your understanding is
       17          of the concept that DEL and Romac and Wildcat were

       18          going to try to effectuate and put in place.          It's my
       19          understanding that DEL was going to manufacture, Romac

       20          was going to finance and Wildcat was going to market.

       21          Is that anywhere close?
       22     A.   No --

       23     Q.   Okay.

       24     A.   -- no, it's not.
       25     Q.   Please tell me.


                                                                             18

                                    Connie S. Ezell, CSR
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                                   1985


        1     A.   My main thought at the time and also talking to Bob
        2          and Alan and Jeff was at that time Jeff was pretty

        3          well financially hamstrung, you know.        He didn't have

        4          much capital at the time.       Okay?   We needed an in to
        5          other customers, so my basic thought was we would go

        6          ahead and build this piece of equipment, lease it to
        7          Wildcat at a favorable price or do a lease/purchase or

        8          even -- or a sale price to them, okay, to where they
        9          could get the unit out to his customer base so we

       10          could use it as a test to prove to other customers --

       11          their -- other competition in that field, okay --
       12     Q.   Let me hop in.     You're saying Romac was going to

       13          finance the manufacture of this device that Wildcat
       14          was going to use --

       15     A.   Uh-huh.

       16     Q.   -- because you wanted an in road to the customer?
       17                                      MR. NEUNER:    Objection to the

       18                           form of the question.
       19                                      MR. JOSEPH:    I'm not trying

       20                           to mischaracterize it.      I'm just trying

       21                           to understand.     That's okay.
       22                                      MR. NEUNER:    Yeah, the

       23                           word -- if you want to know what -- the

       24                           word that bothers me is finance.       They
       25                           were going to pay for it.


                                                                             19

                                    Connie S. Ezell, CSR
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                                   1986


        1                                      THE WITNESS:     Pay for it.
        2                                      MR. NEUNER:    They weren't

        3                           going to finance it, they were going to

        4                           pay for it.
        5     BY MR. JOSEPH:

        6     Q.   You were going to pay to have it manufactured?
        7     A.   Correct.

        8     Q.   Okay.    And then rent it to Wildcat?
        9     A.   Correct.

       10     Q.   And they were going to go perform services for their

       11          customers?
       12     A.   Correct.

       13     Q.   And that would get your foot in the door for the
       14          customers?

       15     A.   Right, correct -- not for much for the SandCat, for

       16          the Beast --
       17     Q.   Right.

       18     A.   -- and the Kodiak, because they way I priced it to
       19          those guys -- I told them, we'll also pay you a

       20          percentage of the daily rates of the Kodiak and the

       21          Beast when it's used on one of your customers' sites.
       22          As long as it's out there, you will get financial

       23          reward for that unit.      That was my end goal --

       24     Q.   Okay.
       25     A.   -- you know, a win win for everybody.        So they was


                                                                              20

                                    Connie S. Ezell, CSR
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                                   1987


        1          that this piece of equipment could be used for flow
        2          back.

        3     Q.   Do you know if Wildcat had ever been out to DEL's

        4          facility to look at their equipment?
        5     A.   I have no idea.

        6     Q.   Do you know if DEL had ever been to Wildcat's facility
        7          to look at their equipment?

        8     A.   Other than when Mike was on location, I don't know.
        9     Q.   And on location is that job in October of --

       10     A.   October, November -- I think it was the November time

       11          frame.
       12     Q.   -- '17?

       13     A.   Yeah, it was November, because I left the day after
       14          Thanksgiving to go down there.

       15     Q.   Okay.    Then on the first page at the bottom Jeff is

       16          responding to you, and he has some modifications and
       17          he mentions that was the problem last time.         What's he

       18          talking about there, the problem last name?
       19     A.   I don't know.     I don't know.

       20     Q.   Did you just --

       21     A.   And I could -- I could not answer Jeff's questions.
       22          That's why I forwarded the e-mail over to Bob Kulbeth.

       23     Q.   Okay.

       24     A.   Since it was his design, his machine, I wasn't going
       25          to answer for Bob on his piece of equipment, so that's


                                                                             29

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                                   1988


        1          why I copied Bob on it, so he responded.
        2     Q.   Okay.   Did you disagree with any of the modifications

        3          Jeff is talking about?

        4     A.   No, I just -- neither did I disagree with Bob's
        5          recommendations.     Honestly, I didn't care.      All I

        6          wanted the machine to do was work so I could sell
        7          something and prove to customers that I could get

        8          their solids dry enough that they didn't have to worry
        9          about trucking, so I didn't care about the internal of

       10          the machine, how it worked, what it did.         I really

       11          didn't.
       12     Q.   Did you ever offer any ideas on the technical details

       13          of the working of the machine?
       14     A.   No.   What I did was -- I wanted ease of

       15          transportation.     This is why I got to have the

       16          transport down the road since we are a trucking
       17          company ourselves -- well, Macro is.        Our parent

       18          company's a trucking company.       We're going to use
       19          Macro's trucks, so I had to make sure that we could

       20          haul this thing down the road at least the smallest

       21          amount of cost as possible.       That was my main
       22          concern -- and rig-up time.       I wanted to make sure on

       23          rig-up time that it was quick and easy to rig up and

       24          also to rig down.     That was my main concern.       But from
       25          once -- once it started coming to the machine and


                                                                              30

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                                   1989


        1     A.   Whenever I had a call for it, yes.        After a while,
        2          everybody knew what SandCat was, but initially that's

        3          what it was called.

        4     Q.   Okay.
        5     A.   This patent -- I think he got a patent on the flow

        6          back -- Total Flow Back -- flow -- I'm not sure, but I
        7          think he applied for a patent on it.

        8     Q.   Okay.    Did you ever suggest to anyone at DEL that you
        9          should be listed on a patent also?

       10     A.   Yes.    Not for the SandCat, it was for the Beast unit

       11          and -- because I had a proprietary chemical to use to
       12          break down hydrocarbons, okay, and I was going to

       13          apply for the patent for that -- that application
       14          using the Beast unit -- DEL unit as the mechanism to

       15          get it there from Point A to Point B.

       16     Q.   Did you ever suggest to anybody at DEL that you should
       17          be listed as an inventor on a patent on the SandCat?

       18     A.   No.
       19     Q.   Did you ever have any discussions with anyone at DEL

       20          about Jeff Weber being listed as an inventor on the

       21          SandCat?
       22     A.   No.

       23     Q.   In your letter of March 12th, 2018, why are you

       24          referring to it as the Total Flow Back Clean rather
       25          than the SandCat?


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        1     A.   Because that's the name Bob had in his drawings,
        2          initial drawings, of the unit, and his patent was on

        3          that piece of equipment.

        4     Q.   Would Bob have known what you were talking about if
        5          you had said the SandCat?

        6     A.   I assume so.     I don't know.    I can't answer that
        7          affirmatively, no.     I assume he would after the

        8          conversations we had.
        9     Q.   Okay.   Now, the -- is the first job that was performed

       10          by a SandCat unit that DEL manufactured, Romac bought

       11          and rented to Wildcat, was that XTO?
       12     A.   Yes, but it -- there was no rent charged for that

       13          unit.
       14     Q.   They wanted to see if it would work or not?

       15     A.   Correct.

       16     Q.   And who was operating the machine in the field?
       17     A.   Wildcat and DEL Tank both were on the job.

       18     Q.   Okay.   Who was -- who from DEL was out there operating
       19          the SandCat?

       20     A.   Jeff was there and numerous other people from DEL -- I

       21          mean, from Wildcat.      I don't know their names.      He had
       22          four or five guys out there.

       23                                      MR. NEUNER:    I think his

       24                           question was who from DEL.
       25                                      THE WITNESS:     Oh, I'm sorry,


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        1          signed.    I don't remember.
        2     Q.   Was there a license agreement between DEL and Wildcat

        3          at that time period?

        4     A.   I don't know.
        5     Q.   Was there ever a license agreement between DEL and

        6          Wildcat?
        7     A.   I don't know.

        8     Q.   Was there ever a license agreement between Romac and
        9          Wildcat?

       10     A.   Yes.

       11     Q.   And was that already executed by March of 2018?
       12     A.   I don't remember.

       13     Q.   Let me show you what I've marked as Exhibit 11, and
       14          Exhibit 11 is an e-mail chain.       The first one is from

       15          you to -- it's DEL_27657, and the first one's an

       16          e-mail from you to Richard, which would be Richard
       17          McElligott, right?

       18     A.   Correct.
       19     Q.   And it's talking about the XTO job, right?

       20     A.   Uh-huh.    Correct.

       21     Q.   And that's the first, quote unquote, job, right?
       22     A.   Correct.

       23     Q.   Who from Romac was out on the job that is referenced

       24          in Exhibit 11?
       25     A.   I just went out to view the machine running.


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        1     A.   I don't know.
        2     Q.   How about completions?

        3     A.   I don't know.

        4     Q.   Okay.   What, to your knowledge, was Mike Kulbeth's
        5          experience in completions?

        6     A.   I don't know.
        7     Q.   Okay.   Are you aware of any confusion among customers

        8          about the SandCat, whether it's a DEL SandCat, the
        9          Romac SandCat or the Wildcat SandCat?

       10     A.   No, I'm not aware of any of that.

       11     Q.   Okay.   So tell me how these stickers are stuck on
       12          these machines.     Is it a peel and stick?

       13     A.   It's a peeling sticker, yes.
       14     Q.   How much -- how hard is it to get them off?

       15     A.   I don't know.     I just know over time because of wear

       16          they'll start peeling and cracking, but to get it off,
       17          I don't know.     I don't know.

       18     Q.   I mean, a wire brush and five minutes?
       19     A.   I guess.    I don't know.    I've never attempted it, so I

       20          don't really know.

       21     Q.   In any event, it would not be some massive expense to
       22          get these stickers off the machines, would it?

       23     A.   I wouldn't think so.

       24     Q.   Okay.
       25                                      MR. JOSEPH:    Pass the


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